 Case: 1:21-cv-00089-SNLJ Doc. #: 24 Filed: 10/14/21 Page: 1 of 2 PageID #: 146




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                              SOUTHEASTERN DIVISION


IN RE: DICAMBA HERICIDES                   )       Master Case No. 1:18-md-2820 SNLJ
LITIGATION                                 )
                                           )       MDL Docket No. 2820
                                           )       This Document Relates to All Cases



                         MOTION TO WITHDRAW AS COUNSEL

       COMES NOW Sonette T. Magnus and respectfully requests this Honorable Court grant

leave to withdraw as counsel for Defendants E. I. du Pont de Nemours and Company and Pioneer

Hi-Bred International, Inc.

       Defendants E. I. du Pont de Nemours and Company and Pioneer Hi-Bred International,

Inc. shall suffer no hardship from the removal/withdrawal of the undersigned attorney and

continues to be represented by Lewis Rice LLC as counsel for said Defendants.



                                                 Respectfully Submitted,

                                                 LEWIS RICE LLC




                                               By:
                                                 Sonette Magnus, #68606MO
                                                 600 Washington Avenue, Suite 2500
                                                 St. Louis, Missouri 63101
                                                 Telephone: (314) 444-7744
                                                 Facsimile: (314) 612-7744
                                                 smagnus@lewisrice.com

                                                Attorneys for Defendant
                                                E.I. DuPont Nemours and Co.
 Case: 1:21-cv-00089-SNLJ Doc. #: 24 Filed: 10/14/21 Page: 2 of 2 PageID #: 147




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 14th day of October, 2021, the foregoing
was filed via the ECF/CM system with the Clerk of the Court and which will serve Notice of
Electronic Filing upon counsel of record via electronic mail.



                                                     /s/ Sonette T. Magnus
